Case 2:16-cv-02106-PSG-SS   Document 40-12   Filed 09/02/16   Page 1 of 4 Page ID
                                    #:989




                       EXHIBIT 12
3/15/2016
       Case 2:16-cv-02106-PSG-SS                               Twilio -40-12
                                                          Document     Service Level Filed
                                                                                     Agreement
                                                                                            09/02/16             Page 2 of 4 Page ID
                                                                     #:990
                                PRODUCTS & PRICING              USE CASES      API & DOCS        NOT A DEVELOPER?              SIGN UP       LOG IN


    LEGAL                                    Terms of Service       Privacy     Transparency Report    Acceptable Use Policy    Trademark      SLA




    Twilio API Service Level Agreement
    Last Update: June 4, 2013


    This Twilio API Service Level Agreement (“SLA”) governs the use of the Twilio API under the terms of the Twilio Terms of Service (the
    “TOS”) between Twilio, Inc. (“Twilio”, “us” or “we”) and users of the Twilio API (“you” or “Customer”). This SLA applies separately to
    each account using the Twilio API. Unless otherwise provided herein, this SLA is subject to the terms of the TOS and capitalized terms
    will have the meaning specified in the TOS. Twilio reserves the right to change the terms of this SLA in accordance with the TOS.


    1. Service Commitment

    Twilio will use commercially reasonable efforts to make the Twilio API available 99.95% of the time. In the event Twilio does not meet
    the goal of 99.95% API availability in a given calendar month (“Monthly Uptime Percentage”), you will be eligible to receive a Service
    Credit as described below.


    2. Definitions

    The following capitalized terms shall be given the meaning set forth below:


    2.1 “Unavailable Time” means the Twilio API is not available for use according to third party performance and monitoring services
    contracted by Twilio at its sole discretion (the “Monitoring Service”). The Monitoring Service reports of availability is currently available
    at status.twilio.com; provided that service issues or outages relating to any Exclusions (defined below) shall not be deemed as
    Unavailable Time.


    2.2 “Monthly Uptime Percentage" is calculated by subtracting from 100% the percentage of continuous 5 minute periods during the
    Service Month in which the Twilio API was in a state of “Unavailable Time” as identified by Monitoring Service


    2.3 A “Service Credit” is a dollar credit, calculated as set forth below, that Twilio may credit back to an eligible Customer account:


       For a calendar month where the Uptime Monthly Percentage, as identified by Monitoring Service, Twilio, at its sole discretion after
       confirming the nature and accuracy of the Unavailable Time, will credit Customer’s account a percentage of that month’s billings, as
       defined by this table:


            MONTHLY UPTIME PERCENTAGE                              SERVICE CREDIT
             <99.95%                                               10%


       Service Credit shall be issued to Customer’s Twilio balance for future use only. No refunds or cash value will be provided. Service
       Credits may not be transferred or applied to any other account.


    3. Credit Request and Payment Procedures

    To apply for a Service Credit, the customer must submit a ticket via the Account Portal within 30 days of the month in which the
    Unavailable Time occurred. The ticket must include (i) "SLA Claim" as the subject of the ticket; (ii) the dates and times of the
    Unavailable Time for which you are requesting credit; and (iii) any applicable information that documents the claimed outage.


https://www.twilio.com/legal/service-level-agreement                                                                                                  1/3


                                                                                                                                                  Ex. 12 -
                                                                                                                                                  p. 122
3/15/2016
       Case 2:16-cv-02106-PSG-SS                                      Twilio -40-12
                                                                 Document     Service Level Filed
                                                                                            Agreement
                                                                                                   09/02/16                Page 3 of 4 Page ID
    4. Exclusions                                                           #:991
    Notwithstanding anything to the contrary, no Unavailable Time shall be deemed to have occurred with respect to any unavailability,
    suspension or termination of the Twilio API, or any other Twilio API performance issues, that (i) are caused by factors outside of
    Twilio’s reasonable control, including, without limitation, any force majeure event, carrier related problems or issues, or Internet access
    or related problems beyond the demarcation point of Twilio or its direct hosting subcontractors (i.e beyond the point in the network
    where Twilio maintains access and control over the Twilio Services); (ii) result from any actions or inactions of Customer or any third
    party (other than Twilio’s direct hosting subcontractor); (iii) result from Applications, equipment, software or other technology and/or
    third party equipment, software or other technology (other than third party equipment within Twilio’s direct control); or (iv) arise from
    Twilio’s suspension and termination of Customer’s right to use the Twilio Services in accordance with the TOS, (v) scheduled
    maintenance; or (vi) problems or issues related to alpha, beta or not otherwise generally available Twilio features or products
    (collectively, the “Exclusions”).


    5. Sole Remedy

    Service Credits shall be your sole and exclusive remedy for any unavailability or non-performance of the Twilio Services or other failure
    by us to provide the Twilio Services.




    COMPANY                          PRODUCTS                         PRICING                     USE CASES                   API & DOCS

    About Twilio                     Programmable Voice               Voice Pricing               Customer Stories            Quickstarts


    Our Nine Values                  Elastic SIP Trunking             Messaging Pricing           Showcase                    Tutorials


    Our Leadership Principles        Programmable Video               SIP Trunking Pricing        Two-Factor Authentication   API Reference


    The Team                         TaskRouter                       Client Pricing              Appointment Reminders       Helper Libraries


    Press & Media                    Network Traversal Service        Network Traversal Pricing   Dispatch Notifications      Blog


    Twilio.org                       Programmable SMS                 TaskRouter                  ETA Alerts                  Help

    Careers                          IP Messaging                     Lookup                      Automated Surveys


                                     Authy                            International Coverage      Masked Phone Numbers


                                     Monitor                                                      Visual Estimates


                                     Lookup                                                       Developer Network


                                     Support Plans                                                Webinars


                                                                                                  White Papers




    INQUIRIES

    Contact Press               Support

    Press                       Status    Sales   Technical   Community   Legal



https://www.twilio.com/legal/service-level-agreement                                                                                              2/3


                                                                                                                                                  Ex. 12 -
                                                                                                                                                  p. 123
3/15/2016
       Case 2:16-cv-02106-PSG-SS                                      Twilio -40-12
                                                                 Document     Service Level Filed
                                                                                            Agreement
                                                                                                   09/02/16   Page 4 of 4 Page ID
                                                                            #:992
    © 2016 Twilio. All rights reserved.   | Terms of Service | Privacy Policy




https://www.twilio.com/legal/service-level-agreement                                                                                3/3


                                                                                                                                    Ex. 12 -
                                                                                                                                    p. 124
